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                    ATTACHMENT A
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                             Closing Argument
       Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 3 of 63 PageID #:21083




UEP Supply Recommendations



                Voluntary


                Not followed


                Not enforced


                                                                                           2
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UEP Certified Program


       Based on recommendations from scientific experts


       Voluntary


       Does NOT restrict hens, eggs, cages, houses, farms


       Increased customer choice


       Met customer demand
                                                                                            3
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        During the Alleged “Conspiracy” . . .

          National flock size grew

          National egg supply increased

          Shell egg prices decreased

        Wholesale Grade A
        Large Shell Egg Prices
        (Average Per Month –
        Adjusted for Inflation)




Walker Demonstrative                                                                                                  4
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The Elements


 What is a Conspiracy?

  Not all agreements are conspiracies
  A conspiracy is an agreement or
     understanding to achieve an unlawful purpose
  A defendant must knowingly join the unlawful
     plan with the intent to further its purpose


 Jury Instruction No. 30, Existence/Explanation of a Conspiracy
 Jury Instruction No. 32, Membership in a Conspiracy                                                  5
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The Alleged Conspiracy




                                                                                            6
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The Alleged Conspiracy




                                                                                            7
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The Alleged Conspiracy




                                                                                            8
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The Alleged Conspiracy




                                                                                             9
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      United Voices




                                                                                         Gary Pickett




                                                           GMI00023386                    Binh Tran

D-9                                                                                                     10
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        UEP Meetings




P-143, P-386
       Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 13 of 63 PageID #:21093




Mastermind?




                                    Donald Bell
                                   Poultry Specialist,
                                 University of California

                                                                                            12
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        Don Bell, University of California Cooperative Extension




P-343, P-385                                                                                           13
                                   Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 15 of 63 PageID #:21095




           Don Bell’s Recommendations On Cage Density




          Donald Bell
          Poultry Specialist,
        University of California




P-328                                                                                                                   14
                 Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 16 of 63 PageID #:21096




         Don Bell’s Recommendations On Cage Density




98:1-9                                                                                                15
                              Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 17 of 63 PageID #:21097




         Gene Gregory




                                                               … I’m no economist and
                                                               therefore look at things
                                                               in a simple manner…
          Gene Gregory




P-210 March 25, 2002 United Voices                                                                                 16
       Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 18 of 63 PageID #:21098




UEP Supply Recommendations



               Voluntary


               Not followed


               Not enforced


                                                                                            17
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        Am I Wasting My Time…?

                                                                USDA reported the nation’s layer flock on June 1st to be 7.3
                                                                million hens larger than on the same date a year ago. . . .
                                                                What happened while I must have been asleep?

                                                                                                 –June 30, 2004 United Voices


                                                                The first hatch reductions to meet the animal care certified
                                                                program began in April 2002 and with 80% of the industry
                                                                committed to the program, we didn’t think we would have to
                                                                worry about unprofitable times for a few years. How wrong
                                                                could we have been?                 –July 16, 2004 United Voices


                                                                Did anyone follow the recommendation to dispose of flocks six
                                                                weeks early? Do these wide market swings do a disservice to
                                                                our customers? Am I wasting my time writing about this and
                                                                urging producers to be more responsive? Egg producers,
                                                                whether marketing shell egg or egg products, are going to
                                                                have to come to terms with the oversupply problem.
                                                                                             –June 23, 2006 United Voices
D-1086, D-1041, D-1042                                                                                                             18
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  So-Called Short-Term Measures Had No Effect


                  Q.   Dr. Baye, is it your view that the                        Q.   You don't know whether anyone
                       short-term flock reduction measures                            actually followed through --
                       were unsuccessful?
                                                                                 A.   That's correct.
                  A.   I think it’s fair to say they were
                                                                                 Q.   -- on a slaughter, correct?
                       unsuccessful.
                               –Testimony of M. Baye, 2567:6-8 (Oct. 31, 2023)   A.   That's absolutely correct.
                                                                                 Q.   So if you don't know if anyone actually
                                                                                      followed through and slaughtered 1
                  Q.   You can't tell this jury whether a molt                        hen, 10 hens, 100 hens, 1,000 hens,
                       had an impact on egg-laying production,                        10,000 hens, you can't measure
Michael Baye           either positive or negative, correct?                          whether a recommended slaughter
                  A.   Not with a degree of scientific                                had any impact, positive or negative,
                       certainty because the only evidence                            on production of egg-laying hens?
                       I have of that is the documentary                         A.   That's correct.
                       record, the statements by the UEP.                                  –Testimony of M. Baye, 2815:5-14 (Oct. 31, 2023)
                             –Testimony of M. Baye, 2811:13-18 (Oct. 31, 2023)


                                                                                                                                          19
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   UEP’s Scientific Advisory Committee




                     Dr. Jeff Armstrong           Dr. Ruth Newberry              Dr. Joy Mench Dr. Janice Swanson Dr. Patricia Hester
                       Head, Dept. of Animal       Asst. Professor, Dept. of     Professor, Dept. of       Associate Professor, Animal   Professor of Animal
                     Science, Purdue University       Animal Sciences,            Animal Sciences,            Science and Industry,       Sciences, Purdue
                                                  Washington State University   University of California    Kansas State University           University




Dr. Larry Stanker         Dr. Bill Chase             Adele Douglass                Donald Bell                     Barrie Wilcox         Gene Gregory
  Research Leader,           Veterinarian,             Director, American         Poultry Specialist,               Wilcox Farms, Inc.    Staff Coordinator,
    USDA-ARS                 Kestrel, Inc.            Humane Association        University of California                Supporter        United Egg Producers
                                                                                                                                               Supporter
                                  Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 22 of 63 PageID #:21102




            UEP Certified Program Timeline

1999
UEP Scientific Advisory
Committee formed




                                 September 2000
                                 SAC Recommendations
                                 for UEP Animal Welfare
                                 Guidelines




                                       April 2002
                                       UEP Animal Husbandry
                                       Guidelines for U.S. Egg
                                       Laying Flocks “go live”


    1999                  2000              2 0 01               2002   2003           2004            2005            2006   2 0 07
                                                                                                                                       21
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   UEP Expected Guidelines Would Evolve Over Time




P-245




        D-433


                                                                                                     22
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        UEP Partnership with FMI and NCCR




P-674, P-697                                                                                         23
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      Customers Wanted One Standard

              Q. Did you have an understanding as                              Q …[W]hy was it relevant that [Wal-Mart’s]
              to whether these members [of FMI]                                competitors were following this FMI/UEP
              perceived a benefit to having … a                                Certified Program?
              single industry approach to animal
                                                                               A. …[i]f we're using the same certifications as
              welfare as opposed to multiple
                                                                               our competitors, then that's more efficient for
Karen Brown   approaches by individual companies?
                                                                               those existing suppliers that we used
              [A]. The whole industry benefits from                            because they don’t have to run two different
              that approach. Certainly suppliers                               programs and violate the 100% Rule. So UEP
              and producers would benefit if there                             was generally recognized as the most logical
              is a common industry position on an                              program to utilize.
              issue that affects them so directly,                                       –Testimony of G. Pickett, 4217:21-4218:4 (Nov. 07, 2023)
              and, therefore, they do not have to
              deal with different requests, different                          A. Why are standards important? Because
              specifications on the same issue.                                if you -- well, if you don't have standards then
                                                                               you don't know what the rules of the game
                  –Testimony of K. Brown, 58:11-59:2 (April 23, 2014)
                                                                               are.             –Testimony of B. Tran, 297:7-9 (Aug. 13, 2013)
                                                                                Q. And you said because it gives a certain
                                                                                   measure of predictability?
                                                                                A. Yeah. Predictability is one factor.
                                                                                           –Testimony of B. Tran, 296:20-22 (Aug. 13, 2013)24
                                                                                                                                                    24
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            UEP Certified Program Timeline

1999
UEP Scientific Advisory
Committee formed



                 November 1999
                 Work begins on the FMI-NCCR
                 Animal Welfare Guidelines



                                 September 2000
                                 SAC Recommendations
                                 for UEP Animal Welfare
                                 Guidelines



                                               June 2002
                                               FMI/ NCCR recommend
                                               the UEP Guidelines



                                       April 2002
                                       UEP Animal Husbandry
                                       Guidelines for U.S. Egg
                                       Laying Flocks “go live”


    1999                  2000                 2 0 01            2002   2003           2004            2005            2006   2 0 07
                                                                                                                                       25
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         Cage Space Allowance




P-245, D-433                                                                                         26
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Phase In

       INDUSTRY                                               SCIENTIFIC COMMITTEE AND FMI

                 10 YRS                                                   2 YRS



                                                6 YRS




                                          COMPROMISE                                            27
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            UEP Certified Program Timeline
                                                                                                                                      April 1, 2008
1999                                                                                                                                  Phase In Ends
UEP Scientific Advisory
Committee formed



                 November 1999
                 Work begins on the FMI-NCCR
                 Animal Welfare Guidelines



                                 September 2000
                                 SAC Recommendations                                                               January 2006
                                 for UEP Animal Welfare                                                            100% compliance
                                 Guidelines                                                                        with prohibition on
                                                                                                                   manure dropping on
                                                                                                                   birds in lower cages

                                               June 2002
                                               FMI/ NCCR recommend
                                               the UEP Guidelines



                                       April 2002                       December 2003
                                       UEP Animal Husbandry             Last date to install
                                       Guidelines for U.S. Egg          equipment to which
                                       Laying Flocks “go live”          house average applies


    1999                  2000                 2 0 01            2002             2003          2004   2005            2006                  2 0 07
                                                                                                                                                      28
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            UEP Certified Program Timeline

1999                                                                                                                                    April 1, 2008
UEP Scientific Advisory                                                                                                                 Phase In Ends
Committee formed



                 November 1999
                 Work begins on the FMI-NCCR                                                                  2007
                 Animal Welfare Guidelines                                                                    UEP adopts the SAC
                                                                                                              recommendation on ammonia


                                 September 2000
                                 SAC Recommendations                                                                 January 2006
                                 for UEP Animal Welfare                                                              100% compliance
                                 Guidelines                                                                          with prohibition on
                                                                                                                     manure dropping on
                                                                                                                     birds in lower cages

                                               June 2002
                                               FMI/ NCCR recommend
                                               the UEP Guidelines                                                       October 2006
                                                                                                                        SAC revises
                                                                                                                        recommendation
                                                                                                                        on feeder space
                                       April 2002                       December 2003
                                       UEP Animal Husbandry             Last date to install
                                       Guidelines for U.S. Egg          equipment to which
                                       Laying Flocks “go live”          house average applies


    1999                  2000                 2 0 01            2002             2003          2004   2005              2006                 2 0 07
                                                                                                                                                        29
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        Backfilling




D-882                                                                                                 30
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            UEP Certified Program Timeline

1999                                                                                                                                                          April 1, 2008
UEP Scientific Advisory                                                                                                                                       Phase In Ends
Committee formed



                 November 1999
                 Work begins on the FMI-NCCR                                                                                    2007
                 Animal Welfare Guidelines                                                                                      UEP adopts the SAC
                                                                                                                                recommendation on ammonia


                                 September 2000
                                 SAC Recommendations                                                                                   January 2006
                                                                                   2005                                                100% compliance
                                 for UEP Animal Welfare
                                                                                   UEP Guidelines prohibit backfilling                 with prohibition on
                                 Guidelines
                                                                                                                                       manure dropping on
                                                                                       December 2004                                   birds in lower cages
                                                                                       UEP Producer Committee
                                               June 2002                               votes to prohibit backfilling
                                               FMI/ NCCR recommend
                                               the UEP Guidelines                                                                         October 2006
                                                                           October 2004
                                                                                                                                          SAC revises
                                                                           SAC recommends eliminating backfilling
                                                                                                                                          recommendation
                                                                                                                                          on feeder space
                                       April 2002                       December 2003
                                       UEP Animal Husbandry             Last date to install
                                       Guidelines for U.S. Egg          equipment to which
                                       Laying Flocks “go live”          house average applies


    1999                  2000                 2 0 01            2002             2003                    2004           2005              2006                     2 0 07
                                                                                                                                                                              31
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            UEP Certified Program Timeline

1999                                                                                   April 2005                                                                   April 1, 2008
UEP Scientific Advisory                                                                The SAC recommends eliminating                                               Phase In Ends
Committee formed                                                                       feed withdrawal molting

                                                                                       April 2005
                                                                                       The UEP Producer Committee votes
                 November 1999
                                                                                       to prohibit feed withdrawal molting            2007
                 Work begins on the FMI-NCCR
                 Animal Welfare Guidelines                                                                                            UEP adopts the SAC
                                                                                                2005                                  recommendation on ammonia
                                                                                                UEP Guidelines prohibit feed
                                                                                                withdrawal molting
                                 September 2000
                                 SAC Recommendations                                                                                         January 2006
                                                                                   2005                                                      100% compliance
                                 for UEP Animal Welfare
                                                                                   UEP Guidelines prohibit backfilling                       with prohibition on
                                 Guidelines
                                                                                                                                             manure dropping on
                                                                                       December 2004                                         birds in lower cages
                                                                                       UEP Producer Committee
                                               June 2002                               votes to prohibit backfilling
                                               FMI/ NCCR recommend
                                               the UEP Guidelines                                                                               October 2006
                                                                           October 2004
                                                                                                                                                SAC revises
                                                                           SAC recommends eliminating backfilling
                                                                                                                                                recommendation
                                                                                                                                                on feeder space
                                       April 2002                       December 2003
                                       UEP Animal Husbandry             Last date to install
                                       Guidelines for U.S. Egg          equipment to which
                                       Laying Flocks “go live”          house average applies


    1999                  2000                 2 0 01            2002             2003                    2004                 2005              2006                     2 0 07
                                                                                                                                                                                    32
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            UEP Certified Program Timeline
                                                                                                                                                                April 1, 2008
1999                                                                                   April 2005
                                                                                                                                                                Phase In Ends
UEP Scientific Advisory                                                                The SAC recommends eliminating
Committee formed                                                                       feed withdrawal molting

                                                                                       April 2005
                                                                                       The UEP Producer Committee votes
                 November 1999
                                                                                       to prohibit feed withdrawal molting            2007
                 Work begins on the FMI-NCCR
                 Animal Welfare Guidelines                                                                                            UEP adopts the SAC
                                                                                                2005                                  recommendation on ammonia
                                                                                                UEP Guidelines prohibit feed
                                                                                                withdrawal molting
                                 September 2000
                                 SAC Recommendations                                                                                         January 2006
                                                                                   2005                                                      100% compliance
                                 for UEP Animal Welfare
                                                                                   UEP Guidelines prohibit backfilling                       with prohibition on
                                 Guidelines
                                                                                                                                             manure dropping on
                                                                                       December 2004                                         birds in lower cages
                                                                                       UEP Producer Committee
                                               June 2002                               votes to prohibit backfilling
                                               FMI/ NCCR recommend
                                               the UEP Guidelines                                                                               October 2006
                                                                           October 2004
                                                                                                                                                SAC revises
                                                                           SAC recommends eliminating backfilling
                                                                                                                                                recommendation
                                                                                                                                                on feeder space
                                       April 2002                       December 2003
                                       UEP Animal Husbandry             Last date to install
                                       Guidelines for U.S. Egg          equipment to which
                                       Laying Flocks “go live”          house average applies


    1999                  2000                 2 0 01            2002             2003                    2004                 2005              2006                  2 0 07
                                                                                                                                                                                33
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UEP Certified Program




                 100% Rule


                 Audits




                                                                                             34
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100% Rule




               Protects the integrity of the
                  UEP Certified brand




                                                                                            35
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        The Scientists Supported the 100% Rule




D-489                                                                                                36
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         FMI Supported the 100% Rule


                                      Our goal is enhanced animal welfare for all
                                      animals in food production - not animals used
                                      only for certain products or product categories




                                       So if I'm a chicken whose eggs are going into this
        Karen Brown                    product versus a chicken whose eggs are going into
                                       that product, why should that make any diﬀerence as
                                       to how I'm handled as an animal. Why should I be less
                                       humanely handled because of what product I end up in
                                                          –Testimony of K. Brown, 213:4-214:20 (April 23, 2014)



D-453                                                                                                             37
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 Customers Supported the 100% Rule

                           Q….From your perspective as the egg buyer, why was it important to Walmart to only
                              purchase eggs from suppliers who were complying with the 100% Rule?

                           A.   Well, the -- you know, one of the -- one of the critical issues was consistency of the
                                product that we received. You know, there's lots of examples of when suppliers
                                did multiple programs or things of that nature.
                                For example, there was a couple of primary examples, you know, in the -- in the
                                produce area, for example, that we could only ship avocados from Mexico to a
                                particular – some states but not other states.

                                It's very difficult to ensure -- if a plant has multiple programs that they're running,
                                the likelihood goes up that the retailer would receive product that was not UEP,
                                because the same lines that run a UEP and other -- if you don't have the hundred
Gary Pickett
                                percent, you run the risk of receiving uncertified product.

                           Q.   And why is consistency of product important to a company like Walmart?
                           A.   Well, reputation is -- is very important. We thought that we were making a step
                                that was an appropriate response at that time. We did not want to take the risk,
                                which would have been a higher risk, of receiving product that were not certified
                                under the UEP guidelines that we had communicated.

                                                                -Testimony of G. Pickett, 4214:4-4215:2 (Nov. 07, 2023)
                                                                                                                          38
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UEP Certified Audit



                Cage space


               Feed withdrawal molting


               Backfilling prohibition


               Co-mingling of Certified and non-Certified eggs


                                                                                              39
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The Elements


 Plaintiffs have the burden to prove

  A contract, combination, or
     conspiracy
  That unreasonably restrains
     trade
  That caused Plaintiffs to
     suffer an injury

 Jury Instruction No. 28, The Elements
                                                                                                      40
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Certified Program — Not an Unreasonable Restraint of Trade


   Competitive Harm                                                Competitive Benefits




    $    Higher Prices




                                                                                               41
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Certified Program — Not an Unreasonable Restraint of Trade


   Competitive Harm                                                Competitive Benefits



             Lower Output


    $    Higher Prices




                                                                                               42
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Certified Program — Not an Unreasonable Restraint of Trade


   Competitive Harm                                                Competitive Benefits



             Lower Output

                                                                                    Expanded Customer
    $    Higher Prices                                                                   Choice




                                                                                                        43
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Certified Program — Not an Unreasonable Restraint of Trade


   Competitive Harm                                                Competitive Benefits


             Lower Output                                                             Meets Customer
                                                                                         Demand
    $    Higher Prices
                                                                                    Increases Customer
                                                                                          Choice




                                                                                                         44
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The Certified Program Is Not an Agreement to Restrict Supply



          DOES NOT limit number of birds or eggs


          DOES NOT limit cages


          DOES NOT limit hen houses


          DOES NOT limit farms


                                                                                               45
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         The Alleged Conspiracy
Non-Member Certified Companies




                                     D-1240
Defs. Exs. 1239, 1250,
1241, 1240, 1242, 502, 515                                                                                        46
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          The Alleged Conspiracy
 Member Certified Companies




                          D-483
Defs. Exs. 438, 450,
457, 464, 471, 477, 478, 483,
490, 492, 495, 499, 503, 506, 516                                                                                        47
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Verdict Form




                                                                                             48
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Customers Had Choices




                                                                              Process
                                                                              Verified
                                                                               PVP
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“Who In Their Right Mind Wouldn’t Demand a Certified Egg”?
Testimony of M. Baye at 2608:14




                                                                      [W]ho in their right mind would want
                                                                      to buy an uncertified egg? I mean,
                                                                      it’s just not a good thing, right.
                                        Michael Baye
                                                                                    –Testimony of M. Baye, 2608: 5-7




                                                                              [W]e were a UEP house.
                                                       Gary Pickett
                                                                                        Testimony of G. Pickett, 4221: 3




                                                                                                                           50
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The Alleged Conspiracy




                                                                                             51
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The Alleged Conspiracy
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The Alleged Conspiracy
       Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 55 of 63 PageID #:21135




The Evidence Has Shown



      No agreement to restrict supply

         Short-term measures were voluntary
         UEP Certified Program does not limit
           eggs/hens/cages/houses/farms
         Producers joined the UEP Certified Program to
           meet customer demand


                                                                                            54
       Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 56 of 63 PageID #:21136




The Evidence Has Shown



      Competitive benefits

         UEP Certified Program increased customer
           choice

         UEP Certified Program met customer demand




                                                                                            55
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The Evidence Has Shown



      No competitive harm or injury

         No evidence that short-term measures
           reduced supply or increased price
         No evidence that the alleged conspirators’
           participation in the UEP Certified Program
           reduced supply or increased price



                                                                                            56
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Verdict Form




                                                                                             57
        Case: 1:11-cv-08808 Document #: 547-1 Filed: 11/17/23 Page 59 of 63 PageID #:21139




Verdict Form




                                                                                             58
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Verdict Form




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Verdict Form




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